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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 Criminal No. 11-cr-150-02-JL

David Moses


                  ORDER OF DETENTION PENDING TRIAL


     In accordance with 18 U.S.C. § 3142(f), a hearing was conducted

on December 2, 2011, for the purpose of determining whether the

defendant should be detained.      The court issued its detention order

orally from the bench, and this written order incorporates those

findings and rulings.     18 U.S.C. § 3142(i)(1).


                              Legal Standards

     Section 3142(f) of the Bail Reform Act, 18 U.S.C. §§ 3141-3156,

"does not authorize a detention hearing whenever the government

thinks detention would be desirable, but rather limits such hearings"

to the circumstances listed in 18 U.S.C. §§ 3142(f)(1) and (f)(2).

United States v. Ploof, 851 F.2d 7, 10 (1st Cir. 1988).         In this case,

the government invokes ' 3142(f)(1)(C), asserting that a detention

hearing is warranted because the defendant is charged with drug

offenses that carry maximum sentences of ten or more years.
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     In this case, the defendant is charged by indictment with one

count of Conspiracy to Manufacture Methamphetamine, in violation of

21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)(viii); one count of

Unlawful Manufacture Methamphetamine, in violation of 21 U.S.C. §

841(a)(1) and 841(b)(1)(A)(viii); and one count of Endangering Human

Life While Manufacturing a Controlled Substance, in violation of 21

U.S.C. § 858   The drug charges satisfy the parameters of §

3142(f)(1)(C), and, accordingly, the detention hearing was

appropriately requested.

     Pursuant to § 3142(f), the court must determine whether any

condition or combination of conditions set forth in § 3142(c) will

reasonably assure the appearance of the defendant ("risk of flight")

and the safety of any other person and the safety of the community

("dangerousness") 18 U.S.C. § 3142(f); United States v. Patriarca,

948 F.2d 789, 791 (1st Cir. 1991).          In making this determination,

the court must consider the following: (1) the nature and

circumstances of the offense charged; (2) the weight of the evidence

as to guilt; (3) the history and characteristics of the accused,

including family ties, past history, financial resources and

employment; and (4) the nature and seriousness of the danger to any

person or the community that would be posed by a release.            18 U.S.C.

§ 3142(g).




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     During the course of a hearing conducted pursuant to 18 U.S.C.

§ 3142, the government has the burden of persuading the court that

no condition or combination of conditions will reasonably assure (1)

the defendant's presence at trial, United States v. Perez-Franco,

839 F.2d 867, 870 (1st Cir. 1988); or (2) the safety of another or

the community.    Patriarca, 948 F.2d at 793.        For its part, the

government is required to prove risk of flight by a preponderance

of the evidence and to establish dangerousness by clear and

convincing evidence.     See id. at 792-93.

     In specific instances, delineated in 18 U.S.C. § 3142(e), a

presumption arises that no condition or combination of conditions

will reasonably assure the appearance of a defendant and the safety

of the community.    Among the instances where a presumption arises

is the situation where

     the judicial officer finds that there is probable cause
     to believe that the person committed an offense for which
     a maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C.
     801 et seq.) . . . .

18 U.S.C. § 3142(e)(3)(A).      Once the presumption is invoked, the

defendant need only produce "some evidence" to rebut it.              United

States v. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991); United States

v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).           "When a defendant

produces such evidence, however, the presumption does not disappear.




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The burden of persuasion remains on the government and the rebutted

presumption retains evidentiary weight."         Dillon, 938 F.2d at 1416.


                          Findings and Rulings

     In this case, the indictment itself constitutes probable cause

to believe that the offenses charged have been committed and that

the defendant has committed them.         Because defendant is charged by

indictment with multiple drug offenses for which a maximum term of

imprisonment is ten years or more, as prescribed in the Controlled

Substances Act, 21 U.S.C. §§ 801 et seq., section 3142(e)'s

rebuttable presumption that "no condition or combination of

conditions will reasonably assure [the defendant's] appearance

. . . and the safety of the community" is triggered in this case.

See 21 U.S.C. § 841(a)(1); see also United States v. Vargas, 804 F.2d

157, 162-63 (1st Cir. 1986).

     At the hearing, the government argued that defendant's release

posed a risk of both flight and danger.       After weighing the evidence

and balancing the factors laid out in 18 U.S.C. § 3142(g), the court

finds that defendant failed to rebut the presumption with respect

to danger.   The court issued its ruling and explained its rationale

orally from the bench.        The court incorporates its oral ruling

herein, and for the reasons stated on the record, finds that the

government met its burden of proving that defendant's release, even




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on strict conditions, presents too serious a risk of danger.                In

short, there are no conditions or combination of conditions that will

reasonably assure the safety of the community.           Accordingly, it is

ORDERED that the defendant be detained pending trial.

      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility, to be held separately, to the extent

practicable, from persons awaiting or serving sentences or being held

in custody pending appeal.       The defendant shall be afforded a

reasonable opportunity for private consultation with defense

counsel.   On order of a court of the United States or on request of

an attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United States

Marshal for the purpose of appearing in connection with court

proceedings.

      SO ORDERED.


                                          _____________________________
                                          Landya B. McCafferty
                                          United States Magistrate Judge

December 5, 2011

cc:   Jonathan Cohen, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation




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